                         EXHIBIT D
Case 2-19-20905-PRW, Doc 2222-4, Filed 09/15/23, Entered 09/15/23 14:06:46,
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                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com

Official Committee of Unsecured Creditors of                              Issue Date :      5/30/2023
The Diocese of Rochester, New York
                                                                                Bill # :       01139



Matter: Insurance

                             PROFESSIONAL SERVICES RENDERED


Date     Timekeeper Narrative                                                       Hours    Amount
4/3/2023 Timothy Burns Conference with J. Bair re insurance strategy (.3);           0.40    $280.00
                        Correspondence with J. Bair re LMI's email re finalizing
                        LMI settlement (.1);
4/3/2023 Jesse Bair     Correspondence with J. Carter re CNA coverage letters 0.10             $62.50
                        (.1);
4/3/2023 Jesse Bair     Correspondence with I. Scharf and T. Burns re LMI Plan 0.10            $62.50
                        issues (.1);
4/3/2023 Jesse Bair     Participate in conference with T. Burns re case              0.30     $187.50
                        insurance strategy and next-steps moving forward (.3);
4/3/2023 Jesse Bair     Review correspondence with I. Scharf and state court         0.10      $62.50
                        counsel re upcoming state court counsel meeting (.1);
4/4/2023 Timothy Burns Participate in call with I. Scharf re Interstate's motion to 1.80    $1,260.00
                        lift stay (.2); draft memo to file re same (.1); review
                        correspondence from state court counsel re pending
                        insurance-related motions (.1); participate in weekly
                        state court counsel meeting for insurance purposes re
                        case litigation and settlement strategy (1.0); draft
                        memo to file re same (.1); participate in BB team
                        meeting re case developments and related projects
                        (.1); conference with J. Bair re insurance settlement
                        strategy (.2);
4/4/2023 Nathan Kuenzi Participate in BB team meeting re case developments 0.10                $42.00
                        and related projects (.1);
4/4/2023 Leakhena Au Participate in BB team meeting re case status and               0.10      $42.00
                        ongoing projects (.1);
4/4/2023 Brian Cawley Participate in BB team meeting re case developments 0.10                 $42.00
                        and related projects (.1);
4/4/2023 Alyssa Turgeon Participate in BB team meeting re case status and            0.10      $36.00
                        ongoing projects (.1);




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4/4/2023 Jesse Bair    Prepare for state court counsel meeting (.1); participate    1.10    $687.50
                       in weekly state court counsel meeting for insurance
                       purposes re case litigation and settlement strategy
                       (1.0);
4/4/2023 Jesse Bair    Review T. Burns correspondence re Interstate's motion        0.10     $62.50
                       to lift the stay of the insurance adversary proceeding
                       (.1);
4/4/2023 Jesse Bair    Participate in conference with T. Burns re insurance         0.20    $125.00
                       settlement strategy (.2);
4/4/2023 Jesse Bair    Review correspondence from state court counsel re            0.10     $62.50
                       insurance and mediation issues (.1);
4/4/2023 Jesse Bair    Participate in BB team meeting re case status and            0.10     $62.50
                       ongoing projects (.1);
4/5/2023 Timothy Burns Conference with J. Bair re insurance litigation and          0.30    $210.00
                       settlement strategy (.3);
4/5/2023 Jesse Bair    Conference with T. Burns re insurance litigation and         0.30    $187.50
                       settlement strategy (.3);
4/5/2023 Jesse Bair    Correspondence with I. Scharf re CNA denial letters as       0.10     $62.50
                       potential exhibits to the Committee's motion to dismiss
                       CNA's claim objections (.1);
4/5/2023 Jesse Bair    Correspondence with B. Cawley re identifying all             0.10     $62.50
                       applicable CNA denial letters for potential use as
                       exhibits to the Committee's motion to dismiss CNA's
                       claim objections (.1);
4/6/2023 Jesse Bair    Review and edit current draft of the Committee's motion      1.80   $1,125.00
                       to dismiss or adjourn CNA's claim objections (1.8);
4/6/2023 Jesse Bair    Participate in conference with T. Burns re potential         0.70    $437.50
                       Interstate settlement strategy (.7);
4/6/2023 Jesse Bair    Analysis re Interstate exposure, POCs, coverage              1.30    $812.50
                       details, and current settlement status in connection with
                       potential Interstate settlement strategy (.7); draft
                       Interstate overview summary in connection with same
                       (.6);
4/6/2023 Jesse Bair    Analyze individual CNA denial letters for each of the        0.50    $312.50
                       claims objected to by CNA (.3); correspondence with I.
                       Scharf re same and potential exhibits to the
                       Committee's motion to dismiss or adjourn CNA's claim
                       objections (.2);
4/6/2023 Brian Cawley Discuss CNA denial letter exhibit production with J.          0.40    $168.00
                       Bair (.1); prepare CNA denial letters for production as
                       potential motion exhibits (.3);
4/6/2023 Timothy Burns Analysis re potential Interstate settlement strategy (.5);   3.50   $2,450.00
                       review J. Bair's memo re same (.2); participate in
                       conference with J. Bair re same (.7); draft PowerPoint
                       presentation, including associated legal research and
                       analysis re potential settlement strategy (2.1);
4/7/2023 Leakhena Au Analysis regarding specific coverage position of CNA           2.30    $966.00
                       with respect to each individual POC (2.3);



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4/7/2023 Timothy Burns Prepare for call with certain state court counsel re            3.60   $2,520.00
                        insurance settlement issues and strategy (.8)
                        participate in call with state court counsel and J. Bair re
                        same (1.2) follow-up conference with J. Bair re same
                        and next-steps (.1); follow-up call with certain state court
                        counsel re same and next-steps (.1); review and revise
                        the Committee's draft motion to dismiss or adjourn
                        CNA's claims objections (1.2); review and consider
                        correspondence from L. Au and J. Bair re CNA's
                        denials and reservations (.2);
4/7/2023 Jesse Bair     Prepare for call with certain state court counsel re           0.90    $562.50
                        insurance settlement issues (.1); participate in portion
                        of call with state court counsel and T. Burns re insurance
                        settlement issues and strategy (.7); follow-up
                        correspondence with state court counsel re same (.1);
4/7/2023 Jesse Bair     Provide instructions to L. Au re supplemental CNA              0.20    $125.00
                        denial letter analysis project (.1); review L. Au
                        correspondence re results of supplemental analysis
                        (.1);
4/7/2023 Jesse Bair     Review T. Burns' suggested edits to the Committee's            0.20    $125.00
                        motion to dismiss or adjourn CNA's claims objections
                        (.2);
4/8/2023 Jesse Bair     Continued analysis re CNA denial issues (.1);                  0.20    $125.00
                        correspondence with state court counsel re same (.1);
4/10/2023 Jesse Bair    Participate in call with state court counsel and T. Burns      0.30    $187.50
                        re potential insurance settlement issues and strategy
                        (.2); follow-up conference with T. Burns re same (.1);
4/10/2023 Timothy Burns Participate in call with state court counsel and J. Bair re    0.30    $210.00
                        insurance settlement issues, strategy, and mediation
                        (.2); participate in follow-up conference with J. Bair re
                        same (.1);
4/11/2023 Jesse Bair    Participate in call with state court counsel and T. Burns      0.30    $187.50
                        re insurance settlement strategy (.1); participate in
                        post-call conference with T. Burns re same and
                        potential next-steps (.2);
4/11/2023 Jesse Bair    Prepare for state court counsel meeting (.1); participate      1.20    $750.00
                        in state court counsel meeting re insurance settlement
                        issues and strategy (.8); participate in follow-up call with
                        certain state court counsel re potential next-steps re
                        same (.1); participate in conference with T. Burns re
                        same (.2);
4/11/2023 Jesse Bair    Review final version of the Committee's motion to              0.30    $187.50
                        dismiss or adjourn CNA's claim objections (.2); review
                        the Committee's letter to the Court requesting
                        temporary adjournment of CNA's claim objections until
                        standing issue has been resolved (.1);




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4/11/2023 Timothy Burns Participate in call with state court counsel and J. Bair re   1.40    $980.00
                        insurance settlement strategy (.1); participate in post-
                        call conference with J. Bair re same and potential next-
                        steps (.2); participate in state court counsel meeting re
                        insurance settlement issues and strategy (.8);
                        participate in follow-up call with certain state court
                        counsel re potential next-steps re same (.1); participate
                        in conference with T. Burns re same (.2);
4/12/2023 Timothy Burns Additional analysis re final version of the Committee's       0.10     $70.00
                        response to CNA's claim objections (.1);
4/13/2023 Jesse Bair    Review CNA's letter to the Court re the Committee's           0.10     $62.50
                        request to temporarily adjourn CNA's claims objections
                        (.1);
4/14/2023 Jesse Bair    Correspondence with I. Scharf re potential Interstate         0.10     $62.50
                        demand and call re same (.1);
4/14/2023 Jesse Bair    Correspondence with I. Scharf re recent CNA coverage          0.10     $62.50
                        correspondence to the Diocese (.1);
4/16/2023 Jesse Bair    Analyze and respond to T. Burns correspondence re             0.20    $125.00
                        recent CNA coverage letter to the Diocese (.1); follow-
                        up correspondence with I. Scharf re same (.1);
4/16/2023 Timothy Burns Review correspondence with I. Scharf re CNA                   0.20    $140.00
                        coverage positions (.1); additional correspondence
                        with J. Bair re same (.1);
4/17/2023 Jesse Bair    Participate in conference with T. Burns re Interstate and     0.20    $125.00
                        CNA strategy (.2);
4/17/2023 Jesse Bair    Correspondence with T. Burns re potential Interstate          0.10     $62.50
                        counter (.1);
4/17/2023 Jesse Bair    Review I. Scharf correspondence re litigation and             0.10     $62.50
                        settlement updates (.1);
4/17/2023 Timothy Burns Analysis re potential insurance strategy for                  2.00   $1,400.00
                        Interstate/CNA in advance of call with Diocese (.2);
                        correspondence with PSZJ and Diocese re same (.2);
                        participate in call with J. Bair re same (.2); participate
                        in call with Diocese and PSZJ re same (.5); follow-up
                        call with I. Scharf re same (.1); participate in additional
                        call and exchange correspondence with J. Bair, PSZJ,
                        and state court counsel re same (.8);
4/18/2023 Jesse Bair    Review the Diocese's opposition to Interstate's motion        0.20    $125.00
                        to lift the stay in the insurance adversary proceeding
                        (.2);
4/18/2023 Jesse Bair    Review the Committee's opposition to Interstate's             0.10     $62.50
                        motion to lift the stay in the insurance adversary
                        proceeding (.1);
4/19/2023 Jesse Bair    Review CNA's letter to the court re claim objection           0.10     $62.50
                        hearing and discovery schedule (.1);
4/20/2023 Leakhena Au Analysis re protective order issues in connection with          0.30    $126.00
                        CNA denial letters (.3);
4/20/2023 Timothy Burns Participate in call with state court counsel re CNA's         0.70    $490.00
                        claim objections and settlement issues (.6); post-call
                        conference with J. Bair re same (.1);

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4/20/2023 Jesse Bair    Participate in conference with T. Burns re CNA re            0.10    $62.50
                        claims objections and settlement issues (.1);
4/20/2023 Jesse Bair    Analysis re protective order issues in connection with       0.20   $125.00
                        CNA denial letters (.1); correspondence with T. Burns
                        and L. Au re same (.1);
4/21/2023 Jesse Bair    Correspondence with I. Scharf, B. Michael, and state         0.10    $62.50
                        court counsel re particular CNA claim denials (.1);
4/21/2023 Jesse Bair    Review correspondence with T. Burns and state court          0.10    $62.50
                        counsel re research re CNA's inability to "cure" its prior
                        denials of coverage and forfeiture of ability to control
                        the defense (.1);
4/21/2023 Jesse Bair    Review certain sexual abuse survivors' joinder and           0.20   $125.00
                        related exhibits re the Committee's motion to dismiss
                        CNA's claim objections (.2);
4/21/2023 Leakhena Au Additional analysis in connection with particular CNA          0.50   $210.00
                        claim denials (.5);
4/21/2023 Brian Cawley Supplemental analysis re prior research re insurer            0.40   $168.00
                        withdrawal of denial and impact on duty to defend (.3);
                        correspond with T. Burns re research summary (.1);
4/22/2023 Jesse Bair    Review revised brief in support of appointment of            0.20   $125.00
                        stipulated judgment mediator (.2);
4/22/2023 Jesse Bair    Review revised version of stipulated judgment protocol       0.10    $62.50
                        (.1);
4/22/2023 Jesse Bair    Review information re potential Plan trustee candidates      0.10    $62.50
                        (.1);
4/24/2023 Jesse Bair    Review agenda for state court counsel meeting (.1);          0.10    $62.50
4/24/2023 Jesse Bair    Participate in conference with T. Burns re state court       0.20   $125.00
                        counsel meeting outcome and insurance and
                        settlement case next-steps (.2);
4/24/2023 Timothy Burns Participate in conference with J. Bair re state court        0.20   $140.00
                        counsel meeting outcome and insurance and
                        settlement case next-steps (.2);
4/24/2023 Timothy Burns Participate in state court counsel meeting for insurance     0.60   $420.00
                        purposes re mediation and insurance strategy (.6);
4/25/2023 Jesse Bair    Review the Court's order granting Interstate's motion        0.50   $312.50
                        and lifting the stay of the insurance adversary
                        proceeding (.2); analyze insurance implications of
                        same re going-forward case strategy (.2);
                        correspondence with T. Burns re same (.1);
4/25/2023 Jesse Bair    Review correspondence from state court counsel re            0.10    $62.50
                        implications of Order lifting insurance adversary stay
                        (.1);
4/25/2023 Jesse Bair    Participate in conference with T. Burns re insurance         0.10    $62.50
                        implications of Order lifting the insurance adversary
                        stay (.1);
4/25/2023 Timothy Burns Participate in conference with J. Bair re insurance          0.10    $70.00
                        implications of Order lifting the insurance adversary
                        stay (.1);



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4/26/2023 Timothy Burns Reviewed and considered the Court's order lifting the        1.60     $1,120.00
                        stay of the insurance adversary proceeding (.4);
                        participate in call with state court counsel re same (.2);
                        review correspondence with state court counsel re
                        same (.2); participate in call with state court counsel re
                        insurance issues (.6); participate in call with J. Bair re
                        insurance strategy in light of recent case developments
                        (.2);
4/26/2023 Jesse Bair    Participate in call with T. Burns re insurance strategy in   0.20      $125.00
                        light of recent case developments (.2);
4/26/2023 Jesse Bair    Review and consider correspondence with state court          0.20      $125.00
                        counsel and I. Scharf re case insurance issues (.2);
4/27/2023 Jesse Bair    Prepare for state court counsel meeting re settlement        1.40      $875.00
                        and insurance strategy (.1); participate in call with T.
                        Burns re insurance strategy in connection with same
                        (.2); participate in state court counsel meeting re same
                        (.6); participate in post-call with T. Burns re outcome of
                        same and next-steps re insurance strategy (.5);
4/27/2023 Jesse Bair    Analysis re potential response to First State's              0.20      $125.00
                        settlement counter (.1); correspondence with I. Nasatir
                        re same (.1);
4/27/2023 Jesse Bair    Review correspondence with T. Burns and state court          0.10       $62.50
                        counsel re potential going-forward insurance strategy
                        (.1);
4/27/2023 Timothy Burns Prepare for state court counsel meeting re settlement        2.20     $1,540.00
                        and insurance strategy (.7); participate in call with J.
                        Bair re insurance strategy in connection with same (.2);
                        participate in state court counsel meeting re same (.6);
                        participate in post-call with J. Bair re outcome of same
                        and next-steps re insurance strategy (.5);
                        correspondence with state court counsel re potential
                        going-forward insurance strategy (.2);
4/28/2023 Timothy Burns Participate in call with J. Bair re insurance adversary      0.10       $70.00
                        proceeding and insurance Plan issues (.1);
4/28/2023 Jesse Bair    Participate in call with T. Burns re insurance adversary     0.10       $62.50
                        proceeding and insurance Plan issues (.1);
4/29/2023 Jesse Bair    Review correspondence with T. Burns re potential First       0.10       $62.50
                        State counter (.1);
Total Hours and Fees                                                                 39.70   $25,357.50

                                             EXPENSES


Date                       Description                                                         Amount
4/1/2023                   First Quarter 2023 PACER (Public Access to Court                     $12.20
                           Electronic Records)
4/4/2023                   CloudNine, database monthly hosting fee (March 2023)                 $46.59
Total Expenses                                                                                  $58.79




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                                Timekeeper Summary


Name                                 Hours              Rate                  Amount
Alyssa Turgeon                         0.10          $360.00                    $36.00
Brian Cawley                           0.90          $420.00                   $378.00
Jesse Bair                            16.30          $625.00                $10,187.50
Leakhena Au                            3.20          $420.00                 $1,344.00
Nathan Kuenzi                          0.10          $420.00                    $42.00
Timothy Burns                         19.10          $700.00                $13,370.00



                                                     Total Due This Invoice: $25,416.29




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